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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                    AT LONDON

         UNITED STATES OF AMERICA,                    )
                                                      )      CRIMINAL NO. 6:09-16-KKC
                        Plaintiff,                    )
                v.                                    )
                                                      )      OPINION AND ORDER
         RUSSELL CLETUS MARICLE,                      )
                                                      )
                        Defendants.                   )


                                       ** ** ** ** **
         This matter is before the Court on the Motion to Dismiss Count One (DE 1416)

  filed by the Defendant Russell Cletus Maricle. For the following reasons, the motion will

  be denied.

         The Defendants are charged with various violations of federal law, all of which

  are related to their alleged participation in a vote-buying and vote-stealing scheme in

  Clay County, Kentucky that lasted from 2002 to 2007 and encompassed three election

  cycles – 2002, 2004, and 2006. There are now five Defendants in this matter scheduled

  for trial: Maricle, Douglas C. Adams, Charles Wayne Jones, William E. Stivers, and

  Freddy W. Thompson.

         Trial is scheduled to begin November 4, 2013. This will be the second trial of

  these Defendants. Their first trial occurred before U.S. District Judge Danny Reeves.

  After seven weeks, the jury found all of the Defendants guilty of all counts. The Sixth

  Circuit vacated the Defendants’ convictions finding that that the cumulative effect of

  various errors during the trial warranted a new trial. United States v. Adams, et al., 722

  F.3d 788 (6th Cir. 2013). Judge Reeves recused from the matter and reassigned it to the

  undersigned. (DE 1311.)
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         Following is a summary of the charges against each Defendant:

         Count Number                      Defendants Charged                Charge

         Count 1                  Maricle, Adams, Jones, Stivers,    Conspiracy to violate RICO
                                  Thompson                          under 18 U.S.C. § 1962(d)
         Count 2                  Maricle and Stivers                Instructing a grand jury witness
                                                                    to testify falsely in violation of 18
                                                                    U.S.C. § 1503
         Count 3                  Thompson                           Giving false grand jury testimony
                                                                    in violation of 18 U.S.C. § 1503
         Count 4                  Maricle, Jones, Stivers, and       Conspiracy to oppress voting
                                  Thompson                          rights of citizens under 18 U.S.C.
                                                                    § 241
         Count 5                  Maricle, Jones, Stivers, and       Conspiracy to buy votes in
                                  Thompson                          violation of 18 U.S.C. § 371 and
                                                                    42 U.S.C. § 1973i



         In Count One of the superseding indictment, all five Defendants are charged with

  conspiring to violate subsection (c) of the Racketeer Influenced and Corrupt

  Organizations Act (“RICO”) in violation of 18 U.S.C § 1962(d). Subsection (c) of the

  Act prohibits any person who is “employed by or associated with any enterprise engaged

  in, or the activities of which affect, interstate or foreign commerce, to conduct or

  participate, directly or indirectly, in the conduct of such enterprise's affairs through a

  pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

         RICO defines “racketeering activity” as:

         (A) any act or threat involving murder, kidnapping, gambling, arson,
         robbery, bribery, extortion, dealing in obscene matter, or dealing in a
         controlled substance or listed chemical (as defined in section 102 of the
         Controlled Substances Act), which is chargeable under State law and
         punishable by imprisonment for more than one year;
         (B) any act which is indictable under any of the following provisions of
         title 18, United States Code: [various enumerated provisions of the Code].

  18 U.S.C. §1961(1).

         The government alleges that the racketeering activity in this cases consists of vote

  buying which is prohibited by Kentucky Revised Statute § 119.205(1). That statute


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  prohibits any person from making or offering to make “an expenditure to any person,

  either to vote or to withhold his vote for or against any candidate . . . .” In its opinion in

  this case, the Sixth Circuit held that “vote buying in violation of Kentucky Revised

  Statute § 119.205 is the type of activity that is generally known or characterized as

  involving bribery.” United States v. Adams, 722 F.3d 788, 803 (6th Cir. 2013). The court

  further determined that vote buying is a valid predicate act under RICO. Id. at 804.

         In this motion, Maricle argues that, under the Sixth Circuit’s interpretation, RICO

  prohibits the bribery of voters in even purely state and local elections, and that Congress

  has no power to regulate conduct in such elections. Maricle argues that, pursuant to the

  Tenth Amendment, states have exclusive power over nonfederal elections. In support of

  his argument, Maricle cites James v. Bowman, 190 U.S. 127 (1903) in which the

  Supreme Court stated that “Congress has no power to punish bribery at all elections. The

  limits of its power are in respect to elections in which the nation is directly interested, or

  in which some mandate of the national Constitution is disobeyed . . . .” Id. at 142.

         The Tenth Amendment provides that “[t]he powers not delegated to the United

  States by the Constitution, nor prohibited by it to the States, are reserved to the States

  respectively, or to the people.”     U.S Const. amend. X.        But the Constitution also

  specifically grants Congress the power “to regulate commerce with foreign nations, and

  among the several States . . . . ” U.S. Const. art. I, § 8, cl. 3. Courts, including the Sixth

  Circuit, have consistently upheld RICO as a constitutional exercise of Congress’s power

  under the Commerce Clause. This is because “[f]ederal prohibition of interstate

  racketeering is clearly within the constitutional delegation of federal power over




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  Commerce ‘among the several States.’” United States v. Thompson, 685 F.2d 993, 1001-

  02 (6th Cir. 1982).

         RICO punishes different actions than the actions proscribed by the state laws that

  serve as predicate acts under 18 U.S.C. § 1961(1)(A). RICO imposes “criminal penalties

  upon individuals who have committed at least two predicate acts of racketeering while

  associated with or employed by an enterprise affecting interstate commerce.” Id. at 1001.

  “RICO was not designed to punish state law violations; it was designed to punish the

  impact on commerce caused by conduct which meets the statute's definition of

  racketeering activity.” United States v. Forsythe, 560 F.2d 1127, 1135 (3rd Cir. 1977).

  See also United States v. Kehoe, 310 F.3d 579, 588 (8th Cir. 2002) (“RICO criminalizes

  the ‘furthering of the enterprise, not the predicate acts’” and, thus, RICO does not

  “improperly encroach upon state sovereignty to prosecute individuals for state common

  law crimes.”); United States v. Martino, 648 F.2d 367, 381 (5th Cir. 1981) (explaining

  that defendants convicted under RICO “were not convicted of the state offense of arson;

  they were all . . . convicted of the federal offense[] of . . . conspiring to participate and

  participating in the affairs of an enterprise affecting interstate commerce.”); United States

  v. Vignola, 464 F. Supp. 1091, 1098 (D.C. Pa. 1979) (explaining that RICO was not

  “meant to, nor does it, punish purely state law violations . . . The defendant in this case

  has not been subjected to trial in federal court because he has violated state bribery laws,

  but because he has corrupted and weakened an enterprise whose activities affect interstate

  commerce.”)

         For these reasons, assuming that the activities of the RICO enterprise alleged in

  this action had a sufficient impact on interstate commerce, RICO is not unconstitutionally



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  applied to the Defendants’ alleged actions. The Court hereby ORDERS that Maricle’s

  motion to dismiss Count One (DE 1416) is DENIED.

        Dated this 22nd day of October, 2013.




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